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AO 91 (Rey. 11/11) Criminal Complaint AUSA Timothy J. Chapman (312) 353-1925

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS rp’ F li L E D
EASTERN DIVISION
JUN 2 5 2049

UNITED STATES OF AMERICA
CASE NUMBER: THOMAS G. BRUTON
y. CLERK, U.S. DISTRICT COURT

CHRISTOPHER MIKE GARBOWSKI 1 9 C R 5 26

also known as “Christopher Michael

Garbowski’ and “Michael Gunnman” UNDER SEAL
MAGISTRATE JUDGE KiM
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge

and belief.
On or about July 28, 2018, at Chicago, in the Northern District of Illinois, Eastern Division,
the defendant(s) violated:
Code Section Offense Description

Title 33, United States Code, Section willfully and knowingly violating the terms of an
1232 (as in effect prior to Order of the Captain of the Port

December 4, 2018)

This criminal complaint is based upon these facts:

X_ Continued on the attached sheet. (We

ASHER THOMAS
Special Agent, United States Coast Guard

Investigative Service

Sworn to before me and signed in my presence. = ie

 
 

Date: June 25, 2019
udge’s signature

City and state: Chicago, Illinois YOUNG B. KIM, U.S. Magistrate Judge
Printed name and Title
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
AFFIDAVIT

I, ASHER THOMAS, being duly sworn, state as follows:

1. I am a Special Agent with the United States Coast Guard Investigative
Service (“CGIS”), a law enforcement component within the United States Coast
Guard (“Coast Guard”), which is within the Department of Homeland Security. I am
currently assigned to the CGIS Chicago Resident Agent Office. I have been a Special
Agent for approximately nine years. My primary duties and responsibilities as a
CGIS Special Agent include the investigation of criminal activity by Coast Guard
members subject to the Uniform Code of Military Justice, as well as the investigation
of any other criminal activity relating to the maritime jurisdiction or which involve
the navigable waters of the United States.

2. Prior to becoming a Special Agent, I was employed for approximately 10
years by the Coast Guard in other capacities, including service as a Machinery
Technician and as a Coast Guard boarding officer, which involved boarding vessels
to ensure compliance with maritime laws and regulations. I have received training at
both the Federal Law Enforcement Training Center in Glynco, Georgia, and the Coast
Guard Training Center in Yorktown, Virginia. During the course of my duties, I have
used, and have become familiar with, numerous investigative techniques, including,

but not limited to, the following: (a) the collection and review of relevant records

(including financial records); (b) physical surveillance; (c) the debriefing of
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individuals with relevant information (including informants, witnesses, defendants
and others); and (d) the execution of search warrants.

3. This affidavit is submitted in support of a criminal complaint alleging
that Christopher Mike Garbowski (“Garbowski”), also known as “Christopher
Michael Garbowski” and “Michael Gunnman,” violated Title 33, United States Code,
Section 1232 (as in effect prior to December 4, 2018), by willfully and knowingly
violating the terms of an Order of the Captain of the Port.

4. The statements in this affidavit are based on my personal knowledge,
my review of records and other evidence gathered to date, information that I have
received from other individuals, including other law enforcement personnel, as well
as my training and experience and the training and experience of other law
enforcement officers. Because this affidavit is being submitted for the limited purpose
of establishing probable cause to believe that Garbowski committed the offense
charged in the above-described criminal complaint, I have not included each and
every fact known to me concerning this investigation.

I. SUMMARY

5. In 2017, I was assigned to an investigation into the unlawful commercial
chartering of vessels upon the Chicago area waterway system, primarily Lake
Michigan and the Chicago River, both of which are navigable waters of the United
States. The commercial chartering of vessels essentially involves the renting of
privately owned vessel in exchange for payment, and most often involves the vessel

owner, or a person designated by the vessel owner, serving as captain for the duration
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of the chartered voyage, which is typically several hours long (e.g., 3-5 hours). As
further discussed below, it is unlawful for a person to engage in certain commercial
charter operations with a vessel that the Coast Guard has not inspected and
certificated as meeting all of the Coast Guard’s strict requirements for vessels
engaged in commercial operations. It is likewise unlawful for a person to serve as
captain of a commercial charter without maintaining a proper Coast Guard
credential. It is also a felony criminal offense for any person to violate the terms of
any order issued by the Captain of any Port.

«6. During the course of this investigation, the Coast Guard determined
that Garbowski owned a vessel (hereinafter, the “Subject Vessel”) that he has
repeatedly used to conduct illegal commercial charter operations. The Subject Vessel
is identified presently by the name “Anchorman,” although Garbowski has previously
operated it under the names “Sea Hawk” and “Manaje III.” In particular, during the
2017 and 2018 boating seasons, Garbowski used the Subject Vessel to conduct
commercial charter operations on the Chicago area waterway system even though the
Subject Vessel had not been inspected and certified as required by federal laws and
Coast Guard regulations. Garbowski also served as captain on these charters even
though he lacked the proper Coast Guard credential to serve as a captain on such
commercial charters. Evidence gathered during the investigation demonstrates that
Garbowski was aware that he was operating in violation of Coast Guard regulations
and took active steps to conceal his commercial charter activities, including by

directing his passengers to lie to the Coast Guard.
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7. On August 19, 2017, Coast Guard personnel boarded the Subject Vessel
as it was about to begin what was determined by Coast Guard personnel to be an
unlawful commercial charter voyage. At that time, Coast Guard personnel served
Garbowski with a verbal Captain of the Port Order (known as a “COTP Order”) that
directed him to cease using the Subject Vessel for commercial charter operations.
During an interview that I conducted with Garbowski at that time, Garbowski falsely
denied that he was engaged in commercial charter operations.

8. In or about late September 2017, Garbowski falsely represented to the
Coast Guard that he had ceased using the Subject Vessel for commercial charter
operations. In or about October 2017, as a result of Garbowski’s false representations,
the Coast Guard rescinded the COTP Order issued on August 19, 2017.

9. During the 2018 boating season, Garbowski continued to engage in
unlawful commercial charter operations using the Subject Vessel. On July 27, 2018,
I personally served Garbowski with a second COTP Order (in writing) that directed
him to cease using the Subject Vessel for commercial charter operations.

10. Evidence gathered during the investigation has established probable
cause to believe that, after July 27, 2018, Garbowski has willfully and knowingly
violated the second COTP Order by continuing to use the Subject Vessel to conduct
commercial charter operations, including on or about July 28, 2018, which was just

one day after I served him with the second COTP Order.
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Il. RELEVANT STATUTORY AND REGULATORY BACKGROUND

A. Coast Guard Regulations Require the Inspection and Certification of
Small Passenger Vessels Used in Commercial Operations.

11. Title 46 of the United States Code contains statutes related to maritime
shipping. Subtitle II to Title 46 contains statutes setting forth the law with respect
to vessels and seamen, particularly with respect to commercial vessel operations,
which is commonly known as “the merchant marine of the United States.” Those
statutes generally provide that the Secretary of the Department in which the Coast
Guard is located “has general superintendence over the merchant marine of the
United States and of merchant marine personnel,” and authorize the promulgation
of regulations to carry out the provisions of Subtitle II of Chapter 46 of the United
States Code. See 46 U.S.C. § 2103; 46 U.S.C. § 2101(44).

12. Title 46, Subtitle II, Chapter 33, pertains to the commercial operation of
vessels on the waters of the United States. Chapter 33 provides that the class of
vessels subject to inspection by the Coast Guard prior to use in commercial operations
includes any “small passenger vessel” 46 USC. § 3301(8). The term “small passenger
vessel” is statutorily defined, in relevant part, to encompass any vessel under 100
gross tons! “(A) carrying more than 6 passengers, including at least one passenger for
hire; (B) that is chartered with the crew provided or specified by the owner or the

owner’s representative and carrying more than 6 passengers; (C) that is chartered

 

1 The "gross tonnage” of a vessel is not a measure of the vessel’s dead weight on land. Rather,
a vessel’s gross tonnage is determined through the application of mathematical formulae
based upon various physical aspects of the vessel. As discussed below, the Subject Vessel is
well below 100 gross tons, thereby qualifying it as a “small passenger vessel” subject to the
Coast Guard regulations.
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with no crew provided or specified by the owner or the owner’s representative and
carrying more than 12 passengers; (D) that is a submersible vessel carrying at least _
one passenger for hire; or (E) that is a ferry carrying more than 6 passengers.”2
46 U.S.C. § 2101(35) (prior to December 4, 2018); 46 U.S.C. § 2101(45) (after
December 4, 2018). Chapter 33 also authorizes the Coast Guard to promulgate
regulations to implement its provisions. See 46 U.S.C. § 3306. If the inspection
verifies that the vessel satisfies all Coast Guard standards, the Coast Guard issues a
Certificate of Inspection (commonly known as a “COI”) for the vessel. See 46 U.S.C.
§ 3309. In general, it is unlawful for a small passenger vessel subject to inspection to
operate without a required COI. See 46 U.S.C. § 3311.

13. Pursuant to 46 U.S.C. §§ 2103 and 3306, and other statutory authorities,
the Coast Guard promulgated regulations at 46 C.F.R. Chapter I, Subchapter T
(Parts 175 through 185), which set forth the inspection and certification requirements
for small passenger vessels. The regulations incorporate the statutory definition of
_ “small passenger vessel” and provide that such vessels “may not be operated without
having on board a valid Coast Guard Certificate of Inspection.” See 46 C.F.R.

§§ 175.110 and 176.100(a). To obtain a COI, a vessel’s owner (or other responsible

 

2 The term “passenger” excludes various individuals, including the charterer: “In [Title 46,
Subtitle IT] .. . ‘passenger’ (A) means an individual carried on the vessel except-- (i) the owner
or an individual representative of the owner or, in the case of a vessel under charter, an
individual charterer or individual representative of the charterer; (ii) the master; or (iii) a
member of the crew engaged in the business of the vessel who has not contributed
consideration for carriage and who is paid for on board services . . .” 46 U.S.C. § 2101(21)(A)
(prior to December 4, 2018); 46 U.S.C. § 2101(29)(A) (after December 4, 2018).
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person) must apply for a COI on a specified Coast Guard form. See 46 C.F.R.
§ 176.105. |
14. The vessel inspection is conducted by technically trained and qualified
Coast Guard personnel who evaluate the seaworthiness of the vessel for commercial
operations. The inspection extends to the vessel’s hull, engine and mechanical
systems, as well as to the vessel’s electrical, lifesaving, fire protection and sanitation
systems, among other things. See 46 C.F.R. Part 176. In general, and with a few
exceptions, a vessel must be dry-docked to facilitate inspection of the vessel’s hull.
See 46 C.F.R. Part 176, Subpart F. A COI will only be issued if the vessel meets the
safety standards specified in Coast Guard regulations. See 46 C.F.R. Parts 177 to 185.
| 15. Aperson who operates a vessel without a required COI is subject to civil

penalties. See 46 U.S.C. § 3318.

B. An Individual Engaged in Commercial Charter Operations Using a
Small Passenger Vessel Must Hold a Valid Coast Guard Captain’s

License.

16. Pursuant to 46 U.S.C. § 8902, “[a] small passenger vessel shall be
operated by an individual licensed by the Secretary to operate that type of vessel in
the particular geographic area, under prescribed regulations.”

17. The Coast Guard regulation at 46 C.F.R. § 15.801 provides: “The
masters or individuals in command of all vessels, whether required to be inspected
under 46 U.S.C. 3301 or not, are responsible for properly manning vessels in

accordance with the applicable laws regulations, and international conventions.”
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18. Coast Guard regulations at 46 C.F.R. § 15.805 require that the master
in command of any inspected small passenger vessel must hold a merchant mariner
credential with an endorsement verifying that the individual may serve as a master
of the vessel. Such merchant mariner credentials are issued by the Coast Guard. See
46 C.F.R. Parts 10 and 11..

19. An “owner, charterer, managing operator, agent, master, or individual
in charge of a vessel” who operates a vessel without a proper Coast Guard license is
subject to civil penalties. See 46 U.S.C. § 8906.

C. The Ports and Waterways Safety Act Provided For Criminal
Punishment For Violation of a COTP Order.

20. Prior to December 4, 2018, the Ports and Waterways Safety Act
(“PWSA”), codified as Chapter 25 to Title 33 of the United States Code (33 U.S.C.
§§ 1221 through 1236), established a statutory and regulatory framework that
ensured, among other things, that the commercial operation of vessels on the waters
of the United States would be conducted in a manner that ensured the safety of
people, vessels, property (both on land and on the water), and the maritime
environment.? See 33U.S.C. § 1221 (2018). Among other things, the PWSA
empowered the Secretary of the Department in which the Coast Guard was operating
to order a vessel to “operate or anchor in a manner” as directed by the Secretary if

(s)he “has reasonable cause to believe such vessel does not comply with any regulation

 

3 On December 4, 2018, the Ports and Waterways Safety Act, as amended, was repealed as
part of a general statutory recodification pursuant to the Frank LoBiondo Coast Guard
Authorization Act of 2018. See Public Law 115-282, 132 Stat. 4192. The provisions of the
PWSA, except for the policy statement set forth in 33 U.S.C. § 1221 (2018), were generally
recodified to Chapter 700 or Title 46, United States Code.
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issued under this chapter or any other applicable law or treaty,” or “by reason of
weather, visibility, sea conditions, port congestion, other hazardous circumstances,
or the condition of such vessel, he is satisfied that such directive is justified in the
interest of safety.” 33 U.S.C. § 1223(b) (2018).

21. Asameans to achieve that goal, the PWSA empowered the Coast Guard
to promulgate regulations to implement the requirements of the PWSA. See 33 U.S.C.
§ 1231 (2018).

22. Among the regulations promulgated under the PWSA are those codified -
at 33 C.F.R. Part 160, Subpart B (Control of Vessel and Facility Operations). With
some exceptions not pertinent to this case, those regulations apply to any “[vJessel on
the navigable waters of the United States.” 33 C.F.R. § 106.103. The regulations, at
33 C.F.R. § 106.111, provided for issuance of COTP Orders, in relevant part, as

follows:

Each District Commander or Captain of the Port may order a vessel to
operate or anchor in the manner directed when:

(a) The District Commander or Captain of the Port has reasonable
cause to believe that the vessel is not in compliance with any regulation,
law or treaty; ...or

(c) The District Commander or Captain of the Port has
determined that such order is justified in the interest of safety by reason
of weather, visibility, sea conditions, temporary port congestion, other
temporary hazardous circumstances, or the condition of the vessel.

23. The PWSA regulations, at 33 C.F.R. § 106.105, further provided that

compliance with the COTP Order was mandatory, as follows:
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Each person who has notice of the terms of an order issued under this
subpart [83 C.F.R. Part 160, Subpart F] must comply with that order.

24. ‘The PWSA, 33 U.S.C. § 1232(a)(1) (2018), provided: “Any person who
willfully and knowingly violates this chapter or any regulation issued hereunder
commits a Class D felony.4

25. Thus, any person who willfully and knowingly violated a COTP Order
violated a Coast Guard regulation issued under the PWSA (33 C.F.R. § 106.105) and,
therefore, committed a felony violation of the PWSA.

26. For purposes of carrying out its operational duties, the Coast Guard
divides the United States into various “Sectors.” Coast Guard Sector Lake Michigan
is comprised of 21 Coast Guard Stations/Units that are responsible for 1,638 miles of
shoreline and approximately 19,000 square miles of surface water. The Area of
Responsibility for Sector Lake Michigan covers four states (Wisconsin, Illinois,
Indiana, and Michigan) and, in addition to the majority of Lake Michigan, extends to
numerous intercoastal waterways, the Chicago River, and 138 miles of the Illinois
Des Plaines river system. Coast Guard Sector Lake Michigan is headed by a Captain
of the Port located in Milwaukee, Wisconsin. Thus, the Captain of the Port in

Milwaukee has jurisdiction to issue COTP Orders to individuals operating on the

Chicago area waterway system.

 

4T understand that, under 18 U.S.C. § 3559(a)(4), an offense defined as a Class D felony may
be punished by a term of imprisonment of up to 10 years’ imprisonment.

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Ill. FACTS ESTABISHING PROBABLE CAUSE THAT GARBOWSKI
COMMITTED THE CHARGED OFFENSE

A. Background Regarding Commercial Charters on the Chicago Area
Waterway System

 

27. Iknow from my training and experience, including my work during this
investigation, that the Chicago area waterway system is a popular location for people
to engage in boating excursions during the warm weather months, usually from
approximately May through September. The appeal of these boating excursions
during the warm weather months has created a market for the commercial chartering
of vessels owned by private individuals or companies. The individuals who charter
these vessels do so for a variety of reasons, but common reasons include celebration

of a family event (e.g., a wedding anniversary or graduation) and enjoying a social
outing with friends (¢.g., a birthday party, bachelor or bachelorette party) or
coworkers (e.g., a corporate team outing). Tourists and business travelers visiting
Chicago may also seek to charter a vessel in order to experience Chicago or participate
in the Chicago “boating scene.”

28. Several commercial charter operators conduct business in a lawful

manner upon the Chicago area waterway system. These operators conduct charters
using vessels that have been inspected by the Coast Guard and for which the Coast
Guard has issued a COI because the vessels meet all of the Coast Guard safety
standards. These operators also ensure that a properly trained and credentialed

vessel master controls the vessel during the charter voyage.

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29. Most of the unlawful charter operators identified during the course of
the investigation have conducted commercial charters using a private pleasure craft
‘that has not been inspected by the Coast Guard (and, therefore, has not been issued
a COI). Often, as in this case, the master of the vessel is also not properly credentialed
to serve as master of the vessel during the charter operation.

30. Both lawful and unlawful charters typically last for several. hours
(usually, 3 to 5 hours) and cost several thousand dollars, depending on the length of
the charter, the number of passengers, the services offered (e.g., whether food and
drinks are included), and the quality of the vessel used for the charter.

31. There are several areas of the Chicago area waterway system that are
particularly attractive to commercial charterers. First, the open waters of Lake
Michigan offer the charterers the opportunity cruise the lakefront of Chicago. Second,
a very popular destination, generally referred to by the Chicago boating community
as the “Playpen,” is located north of the Jardine Water Purification Plant (near Navy
Pier) and east of Lake Shore Drive but within the breakwater barrier in Lake
Michigan. Particularly on warm weekend days, boats enter the Playpen and, given
the relatively calm water within the breakwater, often tie up to each other to enable
the passengers of the various vessels to socialize with each other. The Playpen is
considered the primary “party scene” of the Chicago boating community and is

notorious for excessive drinking and reckless behavior.5 Third, charterers may choose

 

5 A 2014 article describing the culture of the Playpen party scene may be located at:
https://www.chicagoreader.com/chicago/lake-michigan-boat-party-playpen-debauchery-
ahoy/Content?0id=14472607

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to cruise the Chicago River, from which they can observe the architecture of Chicago
and/or moor to a dock in order to participate in the social activities along the Chicago
Riverwalk.

32. Individuals engaged in both lawful and unlawful commercial charters in
the Chicago area waterway system, including many of the subjects of this
investigation, have advertised their vessels on websites that serve the needs of
customers wishing to charter a vessel. Currently, two of the primary websites are
Boatsetter (www.boatsetter.com) and Get My Boat (www.getmyboat.com). A third
site, called Boatbound, that operated during the course of the investigation has since
merged with Boatsetter, which remains active. The companies that own Boatsetter
and Get My Boat are based in Florida. During its existence, Boatbound was based in
Washington, and Boatsetter continues to employ former Boatbound employees who
remain located in Washington. These websites charge vessel owners a fee (usually a
percentage of the total charter fee) for use of the website to reserve a charter.

33. During the course of the investigation, I have served subpoenas for
records upon the various companies that operate the boat charter websites. Those
records reflected that Garbowski opened a Boatbound account in or about January
2015 that would have allowed him to rent vessels. In or about May 2017, Garbowski’s
Boatbound account was modified to permit him to offer vessels for rent or charter.
However, as discussed below, this latter permission was deactivated on or about
July 10, 2017. The records obtained during the investigation reflect that Garbowski

has maintained at least five different Get My Boat accounts, the first of which was

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opened on or about June 30, 2017 (under the name “Michael Drinkwater’). Four of
the accounts, including the first one that he opened, allowed Garbowski to offer
vessels for charter. All of Garbowski’s Get My Boat accounts appear to be active as of
late May 2019 (the last time the government received records).

B. Background Regarding Garbowski

34. Garbowski is approximately 33 years old. He presently maintains a
valid driver's license (issued in or about October 2018) that identifies him as a
resident of Sterling Heights, Michigan. During the course of the investigation,
Garbowski presented to Coast Guard personnel a Michigan driver’s license (issued on
or about September 11, 2017), that identifies him as residing at the same location in
Sterling Heights, Michigan. On both of his driver’s licenses, his name is presented as
Christopher Mike Garbowski.

35. During an interview with CGIS Special Agents on or about June 24,
2019, Garbowski stated that his real name is Christopher Mike Garbowski, but that
he occasionally uses the name “Christopher Michael Garbowski.”

36. Acheck of Coast Guard records reflects that Garbowski has never held
a merchant mariner credential and, therefore, has never held the appropriate license
to serve as master of a small passenger vessel engaged in commercial operations.

C. Background Regarding The Subject Vessel

37. Pursuant to Coast Guard regulations at 46 C.F.R. Part 67, certain
vessels of at least five net tons are required or eligible to obtain a certificate of

documentation (“COD”) from the Coast Guard. A COD “serves as evidence of vessel

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nationality, and permits a vessel to be subject to preferred mortgages.” 40 C.F.R.
§ 67.1. A vessel owner obtains a COD by submitting an application to the Coast
Guard’s National Vessel Documentation Center (“NVDC”), which issues a unique
identifying number for the vessel.é This unique identifying number remains the same
for the vessel even if the vessel owner later changes the name of the vessel.

38. Information obtained from the NVDC indicates that the Subject Vessel
is registered with the NVDC under Document No. 1192154. NVDC records indicate
that the Subject Vessel, under the name “Sea Hawk,” was purchased by “GSKI Group
LLC” from Owners Al and A2, both residents of Maryland, on or about June 28, 2017.
The vessel is identified as 12 gross tons and having a length of 40 feet, a width of 12
feet, and a fiberglass hull.

39. Publicly available information accessible online through the Delaware
Secretary of State’s office identifies GSKI Group, LLC, as a Delaware limited liability
corporation that was incorporated on or about July 7, 2017.

40. On or about July 14, 2017, Garbowski, on behalf of GSKI Group LLC,
submitted to the NVDC an application seeking reissuance of the COD for the Subject
Vessel. In the application, Garbowski identified the Subject Vessel by the name
Manaje III and identified its hailing port as Chicago, Illinois. In the application, the

owner is indicated as “GSKI Group, LLC” with a mailing address in Delaware but a

 

§ Each vessel may be uniquely identified by its unique “hull number,” which is issued by the
manufacturer of the vessel and stamped into the hull of the vessel. The identifying number
issued by the NVDC is not the same as the hull number, but it is associated with the hull
number so that the NVDC number only pertains to a single vessel.

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physical address in Sterling Heights, Michigan, that was identical to the address
listed on Garbowski’s then-valid Michigan driver’s license. In the application,
Garbowski identified himself as the “sole owner” of GSKI Group, LLC. With respect
to the Subject Vessel’s purpose, Garbowski identified (by checking an adjacent box)

the Subject Vessel as intended only for “recreational” use and left blank other fields,

 

 

 

as follows:
J. ENDORSEMENTS FOR WHICH APPLICATION iS MADE
i] RECREATIONAL _.] COABTWISE - BOWATERS ONLY (CERTIFICATE ON FILE)
J eisneRy COABTWISE ~ O/L SPILL RESPONSE ONLY (LETTER OF QUALIFICATION ON PILE)
| COASTWISE COASTWISE UNDER CHARTER TO AN ENTITY QUALIFIED TO ENGACE IN COASTWI8E TRADE
|_J REGteTAY (COPY OF CHARTER ON FILE}
X. PRIMARY SERVICE & HORSEPOWER
HORSEPOWER:_620 OFFSHORE SUPPLY VESSEL RECREATIONAL
(2) commerciat FISHING BOAT PASSENGER (6 OR FEWER) LJ] researcy vesse,
FISH PROCESSING VESSEL PASSENGER (MORE THAN 6) [_] schoo snie
_| FREIGHT SHIP PASSENGER BARGE (6 OR FEWER) TANK BARGE
PHRIGH! GAS ‘ PASSANUE DAMNUE (MORE THAN 6) TANK SHIP
[_] imeustei vesset PUBLIC FREICHT TOWING VESSEL
MOBILE OFFSHORE DRILLING UNIT PUBLIC TANKSHIRARGE . UNCLAQSIFISD VESSEL
[_] on recovery PUBLIC VESSEL, UNC
Ae 4920 nesta Dreads Ean Pineniaba CRA Aes 6 Re - Sano tnd

 

 

41. On January 19, 2019, a CGIS special agent interviewed Owner A1 in
Maryland. Owner A1 confirmed that Garbowski purchased the Subject Vessel (which
was then named Sea Hawk and registered with a hailing port of Washington, D.C.)
from Owner Al on June 28, 2017. Owner Al presented to the interviewing agent
digital photographs of a written sales agreement that Owner A1 took of the purported
sales agreement between him and Garbowski for the purchase of the Subject Vessel.
In the contract, Garbowski’s name and address in Sterling Heights, Michigan, are

handwritten onto the agreement as the purchaser, and Owner Al and his home

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address are listed as the seller.’ Owner Al also presented to CGIS a digital
photograph that he took of Garbowski. From my own interactions with Garbowski, I
can identify the individual depicted in the photograph as Garbowski. Owner Al
stated that he took the photograph of Garbowski because Owner Al deemed it
unusual that Garbowski claimed to be unable to produce a driver’s license during his
interactions with Owner Al.

42. As discussed below, at various times during this investigation, I have
personally observed the Subject Vessel. I have observed the vessel underway under
the names Sea Hawk (primarily 2017) and Manaje III (primarily 2018). In early June
2019, I received a photograph from a source of information who was able to
photograph the back of the Subject Vessel, which was marked with the name
“Anchorman.” A photograph of the Subject Vessel taken near downtown Chicago on

or about July 14, 2018, is set forth below:

 

7 In the contract, the vessel is described as a 1998 Bayliner Avanti 4085. However, the hull
identification number and existing COD number do not match those of the Subject Vessel as
registered with the NVDC. In a follow-up telephonic interview on June 11, 2019, Owner Al
clarified that all of the vessels he owns are named “Sea Hawk” and that the hull identification
number and the existing COD number listed in the contract correspond with another vessel
he owned at the time, and that he (Owner A1) listed those numbers by mistake. Owner Al
further stated that the description of the vessel (1998 Bayliner Avanti 4085) in the contract
is a correct description of the vessel he sold to Garbowski.

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D. Evidence Demonstrates That Garbowski Engaged In Commercial
Charter Operations Prior To August 19, 2017.

 

43. On or about July 15, 2017, the Harbor Master at Monroe Harbor in
Chicago reported to the National Response Center that a white vessel with the name
Sea Hawk was the suspected source of a release of oil in Monroe Harbor. The Harbor
Master also stated that he believed that the Sea Hawk may have been conducting
illegal charter boat operations.

44. During the course of the investigation, investigators have learned that
Garbowski maintains accounts with online payment processors PayPal and one of its
subsidiaries, Venmo. The government has obtained records from PayPal and Venmo
pursuant to subpoenas served upon them. PayPal records reflect that Garbowski is
the primary account holder on six PayPal accounts; however, those records also
reflect that he primarily has used two of these accounts in relation to his commercial

charter activity, namely: (1) a business account under the name “Manaje Productions”

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created on or about September 17, 2005:8 and (2) an individual account under the
name “Michael Garbowski’” created on or about February 22, 2008. Venmo records
reflect that Garbowski opened a single Venmo account under the name “Chris Mike
Garbowski’ on or about July 28, 2016.

45. Evidence obtained from individuals during the course of the
investigation suggests that Garbowski’s standard practice when chartering a vessel
was to require a refundable deposit of approximately $500 prior to the charter. After
the charter was completed, Garbowski would request payment (often by transmitting
an invoice) of the charterer for the full rental amount. After full payment was made,
Garbowski then refunded the deposit money.

46. Records obtained from PayPal/V. enmo reflect multiple transactions that
are consistent with Garbowski engaging in unlawful commercial charter operations.
For example, Venmo records reflect that, in or around July 2017, Individual A paid
$1,000 to Garbowski, with an associated note stating “Boat rental part 1.” The next
day, Individual B paid $1,700 to Garbowski, with an associated note stating “Boat
part 2.” The next day, Garbowski transferred $500 and $450 via Venmo to
Individual A along, with associated notes stating, respectively, “Deposit refund” and
“Refund.”

47. Similarly, records from PayPal reflect the following: (a) on or about

July 24, 2017, Garbowski transmitted a $517.50 invoice (dated July 30, 2017) to

 

8 Records from the Michigan Secretary of State reflect that Garbowski created a Michigan
corporation called Manaje Productions, LLC, on or about January 26, 2006. The corporate
address was the same as Garbowski's Sterling Heights address.

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Individual C via PayPal; (b) on or about July 27, 2017, Individual C transferred
$517.50 to Garbowski via PayPal; and (c) on or about July 31, 2017, Garbowski
transmitted a refund via PayPal of approximately $486 to Individual C.9

48. In February 2019, I and another CGIS Special Agent interviewed
Individual C. Individual C stated that, in approximately 2016 or 2017, he used the
Boatbound website to look for vessels to charter in the Chicago area and made contact
with Garbowski.!° Individual C stated that, upon making contact, Garbowski
circumvented the Boatbound application by contracting with Individual C outside of
the website.!! Individual C identified the vessel as named the Manaje III and stated
that he chartered the vessel multiple times during 2017 and 2018. For each trip,
Garbowski was the captain of the vessel and Individual C was not given a choice of

captains. On a couple of occasions, Garbowski also had an additional crewmember.

 

9 This sequence of transactions supports the inference that the charter voyage likely occurred
on or about July 30, 2017.

’ 10 Get My Boat records reflect that Individual C contacted Garbowski on or about July 24,
2017.

11 As noted above, the boat rental websites charge a fee (usually a percentage of the charter
fee) for each vessel charter arranged using the website. I know from my training and
experience, and this investigation in particular, that some vessel owners, in order to avoid
the website fee, will use the website to meet a potential customer but then privately contract
with the customer outside of the website. Doing this is a violation of the website’s terms of
service and can result in a vessel owner being removed from the website. As noted above,
Garbowski’s permission to offer his vessel for rent or charter on the Boatbound website was
terminated on or about July 10, 2017. Those records reflect that that permission on
Garbowski’s account was terminated because Garbowski failed to convert into a sale any of
the last 60 charters inquiries he received through the website. Those records reflect that
Garbowski had 31 canceled charter bookings, 827 account views, and more than 55 separate
charter booking request responses in furtherance of conducing charter voyages. This activity
is consistent with the inference that Garbowski used the website to identify and contact
potential charterers for his vessel and thereafter circumvented the website to avoid paying

the website fees.

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Garbowski usually limited the number of passengers at 20-25. Individual C stated
that his groups were usually around 15 passengers. Individual C stated that he and
his groups always boarded the vessel at Monroe Harbor in Chicago, with the Playpen
as their destination. Individual C stated that he paid Garbowski for the charter
voyages and that the charter fees included fuel and a captain, but did not include food
or alcohol. Individual C stated that he separately provided a tip to Garbowski as well,
and that his passengers partially reimbursed him for the cost of the charter.
Individual C also stated that, on two of the voyages, the Coast Guard boarded the
vessel, apparently to inquire with respect to underage drinking. Individual C also
stated that Garbowski instructed him that, if the Coast Guard personnel had any
questions, Individual C should direct the Coast Guard member to just inquire of
Garbowski. As further discussed below, Individual C also stated that he last
chartered the Subject Vessel with Garbowski on July 28, 2018.

49. Records obtained from PayPal during the investigation indicate that,
on or about June 24, 2017, Individual D paid $500 to Garbowski as a deposit for a
charter to take place on July 29, 2017. On or about July 20, 2017, Individual D also
paid $2,750 to Garbowski for the same charter voyage.

50. In February 2019, I and another Special Agent interviewed
Individual D. During the interview, Individual D stated that, in approximately June

2017, he served (for the only time in his life) as the coordinator for a group of people

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who wanted to charter a vessel to attend the Chicago Boat Scene Party.12
Individual D stated that Garbowski communicated with Individual D via email, and
Individual D was able to locate and provide some of those email messages to law
enforcement. In those email messages, Garbowski directed Individual D to sign a
contract, and offered to provide an altered charter contract so that Individual D could
deceive his friends with respect to the cost of the charter if Individual D chose to do
so. Email from Garbowski to Individual D includes the following statements with
respect to the contract’s confidentiality clause:

But for the confidentiality part, basically it is to not share the details or

that it is a charter. If anybody asks, including authorities and harbor,

we are friends going out on the lake. [Email of July 20, 2017]

The most important thing 1s to let everyone know that I’m your friend

and we are all friends. If we are to get stopped by police or coast gaurd

[sic], then it could create a problem if anyone says It’s a charter, ruining

the day. I put the confidentiality clause in the contract for that reason.

[Email of July 24; 2017]
According to Individual D, as verified by email messages provided by Individual D,
the charter was cancelled due to the poor weather conditions. Individual D stated
that he was refunded the full amount for the charter voyage, but only after Garbowski
disputed the weather clause of the contract and stated that he (Garbowski) intended
to keep one-half of the deposit. Venmo records reflect that, on or about August 10,

2017, Garbowski transferred approximately $2,750 to Individual D with a note that

read “7-29 Scene money back.”

 

12 T know from my training and experience that the Chicago Scene Boat Party is an annual
event held in the Playpen, usually in late July, that involves an extremely high turnout of
participating vessels.

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51. Records from Get My Boat indicated that, on or about August 1, 2017,
the website transferred $1,674 to Garbowski via PayPal wire transfer.

52. Other records from Get My Boat reflect that Garbowski opened his Get
My Boat account on or about August 3, 2017. The account information listed an
associated address on South Riverside Plaza, Chicago, Illinois, an account name of
“Mike Gunnman,” and an account payout address to a bank account under the name
“Mike Garbowski.” The account information also reflected an associated phone
number and email address that has been linked by other charter customers and.
records obtained during the investigation to Garbowski.

53. Onor about August 5, 2017, I conducted surveillance at locations known
to be used by individuals engaged in illegal charter operations and observed the
Subject Vessel (under the name Sea Hawk) appear to take on fuel at Burnham Harbor
with approximately 10 passengers on board, none of whom assisted the operator with
fueling or maneuvering operations. This observation was consistent with the Subject
Vessel being involved with illegal charter operations.

54. The evaluation of PayPal/Venmo and Get My Boat records combined
with witness interviews has verified that Garbowski used the Subject Vessel to
conduct commercial charter voyages on at least August 5, 2017 (reserved by
Individual E), and August 10, 2017 (reserved by Individual F). During an interview
of Individual F in March 2019, Individual F stated that the captain of the vessel,

whom he identified as “Captain Mike,” claimed to have obtained a captain’s license

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online. Such a claim would have been false, insofar as one cannot obtain a Coast

Guard captain’s license through a private online service.

E. On August 19, 2017, Garbowski Lied To Coast Guard Personne] And
The Coast Guard Issued The First COTP Order.

55. Onthe morning of August 19, 2017, I observed the Subject Vessel (under
the name Sea Hawk) approach the sewage pump out dock in Monroe Harbor in
Chicago, Illinois. I observed Garbowski aboard the Subject Vessel, and I voluntarily
assisted Garbowski with mooring the vessel to the dock.!3 A second male was aboard
the Subject Vessel at that time. This was the first time that I interacted with
Garbowski in person.

56. After the Subject Vessel was docked, I approached the Subject Vessel to
speak with Garbowski. I was wearing clothing that clearly identified me to be a
Special Agent, and other Coast Guard personnel in uniform were present on the dock
at the time. Later during our conversation, I advised Garbowski of my name and my
office. At the start of the interview, I asked Garbowski what his plans were for the
day. Garbowski told me that he and his male companion were just waiting for other
friends to arrive for.a boat ride. Garbowski did not state that he was engaged ina
commercial charter operation. I then saw Garbowski appear to use his cellular
telephone. Soon thereafter, I witnessed a group of females approaching the dock. I
also observed one of those females appear to be using her cellular telephone. The

females then boarded the Subject Vessel. Based upon my observations, I then advised

 

8 Tt is common for Coast Guard personnel to offer such assistance to boaters.

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Marine Safety Unit (“MSU”) and other civil Coast Guard law enforcement personnel
about my concerns that the Subject Vessel may be involved in an unlawful
commercial charter.'4
57. Soon thereafter, the MSU personnel decided to board the Subject Vessel
At approximately 10:00 a.m. on the morning of August 19, 2017, Coast Guard
personnel boarded the Subject Vessel. In accordance with standard protocols,
boarding personnel conducted interviews of the occupants of the Subject Vessel in
order to ascertain their identities. During that activity, the boarding officers
determined that the vessel was being operated by Garbowski and one male
crewmember, and that there were a total of eight females on board. During interviews
by MSU personnel, some of the females on board the Subject Vessel stated that they
had paid money to charter the vessel. As a result, MSU personnel concluded that the
Subject Vessel was engaged in an illegal commercial charter. Individual G was one of
the individuals aboard the Subject Vessel.
58. After the Coast Guard boarding team entered onto the Subject Vessel, I
and another Coast Guard member interviewed Garbowski on the pier. During the

ensuing interview with Garbowski, Garbowski identified himself as a resident of

 

14 The Coast Guard MSUs are engaged in the civil enforcement of the Coast Guard’s laws and
regulations. The web page for the MSU in Chicago provides that it is “responsible for
executing the Coast Guard's Port Safety and Security, Marine Environmental Protection, and
Commercial Vessel Safety missions under the auspices of the Department of Homeland
Security.” The Coast Guard also maintains “boat stations” on navigable waterways, including
on the Chicago area waterway system. The mission of the boat station personnel extends to
civil law enforcement, search and rescue operations, and general maritime safety. The MSU
offices and the boat stations are not part of the CGIS criminal law enforcement component of
the Coast Guard. Rather, they report through a separate chain of command, namely, the
Sector Lake Michigan chain of command described above.

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Sterling Heights, Michigan. Garbowski repeatedly denied that he was engaged ina
charter operation, insisting instead that none of the passengers on the Subject Vessel
was paying for the voyage. Garbowski also denied that he had advertised his vessel
on any websites or “apps” as a passenger charter vessel, and he continued to deny
that he was operating the Subject Vessel for profit or personal gain.

59. Based upon information from the passengers indicating that, in fact,
they had paid for the charter, one of the boarding officers verbally issued a COTP
Order to Garbowski. In particular, the boarding officer directed Garbowski to cease
using the Subject Vessel for commercial charter operations. The boarding officer then
handed to Garbowski a copy of a Boarding Report Form that referenced the
regulations at 46 C.F.R. Parts 175-185 and. specifically stated: “VESSEL ISSUED
COTP ORDER 11-17 TO CEASE COMMERCIAL OPERATIONS.” The boarding
officers also directed Garbowski to terminate the voyage.

60. After the voyage was terminated, Garbowski asked me if he could
conduct a recreational voyage with his friends. I verbally responded by telling
Garbowski that he could operate the vessel recreationally but that it would violate
the COTP Order to operate the vessel in a commercial manner.

61. On September 20, 2017, I conducted an interview of Individual G
regarding the August 19, 2017, chartering of the Subject Vessel. Individual G, who is
a resident of Missouri, stated that she used the Get My Boat website to charter the
Subject Vessel in order to celebrate a birthday and the college graduation of various

female friends, some of whom came to Chicago from other states. On the website, the

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Subject Vessel was advertised as the “Sea Hawk.” She chartered the vessel for $2,400
for a five hour period (10:00 a.m. to 3:00 p.m.). According to Individual G, Garbowski
emailed a vessel rental agreement to Individual G that made it appear as if she was
going to have to captain the boat.!5 After reading the contract, Individual G pointed
out that language to Garbowski and said that she wanted a captain to be provided;
in response, Garbowski told her that the language of the contract was not
consequential. Individual G also stated that, as she and her friends were walking
down the dock to board the Subject Vessel, Garbowski called Individual G on her cell
phone and told Individual G to pretend that they were all friends with Garbowski.
Individual G did not understand the purpose of that call, but agreed to do so.
Individual G stated that, after the Coast Guard terminated her voyage, Individual G
| complained to Get My Boat and received a full refund, even though Garbowski
complained about the refund. Individual G stated that Garbowski contacted her via
email and accused Individual G of violating the confidentiality agreement in the

contract by talking to the Coast Guard boarding officers. Garbowski also told

 

15 Individual G did not identify the owner by the name Garbowski, but evidence demonstrates
that it was Garbowski (using the name “Mike” and/or “Michael Gunnman”) who offered the
charter and interacted with Individual G. In addition to the fact that the charter was on the
Subject Vessel, Garbowski was present on August 19, 2017, to conduct the charter, and
Garbowski’s later acknowledgement of owning the Subject Vessel at the time of the boarding
(discussed further below) Individual G provided me with a copy of the charter agreement.
That agreement is on letterhead “GSKI Group” and contains nearly identical language to
other contracts that Garbowski issued to charter customers. The agreement included the
following language: “Renter agrees and acknowledges that he/she will be the sole operator of
the boat, and will use the Boat in a careful, safe and conscientious manner. Renter shall at
all times observe and adhere to any rules and guidelines posted by Boat Owner, and any
applicable laws or regulations. Renter shall be responsible at all time for the safety of any
and all passengers in the Boat.”

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Individual G that he did not think a full refund for the cancelled trip was fair given
that Individual G was responsible for the voyage being terminated since she said
things to the Coast Guard that, per Garbowski, she should not have said. Individual
G terminated her communications with Garbowski and referred him to her lawyer
for any future communications.

62. Phone records obtained for a cell phone number that Garbowski has
repeatedly identified as his reflect that, on or about August 19, 2017, at
approximately 10:07 a.m. (Central Time), Garbowski placed a 75 second call to
Individual G’s cellular telephone. This call is consistent with the approximate time
that I observed Garbowski and Individual G using their cell phones after the Subject
Vessel was docked.

63. Records obtained from Get My Boat reflect that Individual G reserved
the Subject Vessel for five hours (10:00 a.m. to 3:00 p.m.) on August 19, 2017, through
Get My Boat. The host of the vessel is identified as “Mike Gunnman” and indicates
an email address that other information from the investigation associates with
Garbowski.

64. On August 24, 2017, a written version of COTP Order 11-17 was mailed,
return receipt requested, to Garbowski at his home address in Sterling Heights,
Michigan, and was also transmitted electronically to an email address associated
with GSKI Group, LLC. A United States Postal Service return receipt indicates that

the letter was received at the Sterling Heights address on or about August 26, 2017.

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The COTP Order was addressed to “M/V SEA HAWK” to the “Attn: Christopher
Grabowski” [sic]. The COTP Order provided, in relevant part, as follows:

CAPTAIN OF THE PORT ORDER 11-17: M/V SEA HAWK, O.N.
1192154

On August 19, 2017 members of my staff, in the vicinity of Monroe
Harbor, Chicago, IL, observed the M/V SEA HAWK, O.N. 1192154,
operating with passengers for hire. The Coast Guard has no current
record of your vessel being inspected as a small passenger vessel or being
operated by an individual licensed by the Coast Guard for this vessel
and route.

Title 46 United States Code (U.S.C.) § 3301(8) states that small
passenger vessels are subject to inspection. Additionally, 46 U.S.C. §
8902, requires small passenger vessels be operated by an individual
licensed by the Secretary to operate that type of vessel in the particular
geographic area, under prescribed regulations. Furthermore, 46 U.S.C.
§ 8903, requires self-propelled, uninspected passenger vessels be
operated by an individual licensed by the Secretary to operate that type
of vessel, under prescribed regulations.

Therefore, M/V SEA HAWK, O.N. 1192154, is hereby ordered to
immediately cease operations as a commercial passenger vessel until
such time as it can be shown to the satisfaction of the Coast Guard that
it is operated by an individual holding an appropriate license and is in
compliance with all federal laws and regulations.

This order is given under the authority of Title 33 U.S.C. §
1223(b), effective August 19, 2017, and will remain in effect until
rescinded by my office. To be released from operating restrictions of this
letter, within 30 days from the date of this order, you shall notify my
office in writing of your intention to operate as a commercial vessel. If
you choose to operate as a small passenger vessel or uninspected
passenger vessel, you will remain restricted from carrying passengers
for hire until you comply with all applicable federal laws and
regulations.

Failure to comply with this order may result in a civil penalty of
not more than $90,063.00 pursuant to 33 U.S.C. § 1282(a), with each
day of continued operation constituting a separate violation.
Furthermore, a willful and knowing violation of this order under 33
U.S.C. § 1232(b) constitutes a Class D Felony which may expose you to

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a term of imprisonment not to exceed 10 years, and a fine not to exceed
$250,000.00.

Should you feel aggrieved by this order, you may request
reconsideration to me directly. If I do not rescind this order based on
your request, you may appeal my decision to the Commander, Ninth
Coast Guard District. While any request of appeal is pending, all
provisions of this order will remain in effect. Reconsideration requests
or appeals must follow the procedures prescribed in Title 33, Code of

Federal Regulations (CFR) § 160.7.

If you have any questions please contact our 24-hour watch at
(414) 747-7182; fax (414) 747-7883.

F. Garbowski Continues to Conduct Unlawful Commercial Charters in
2017 Using the Subject Vessel After the First COTP.

65. Despite the issuance of the first COTP on the morning of August 19,
2017, evidence establishes that Garbowski conducted another commercial charter on
the afternoon of August 19, 2017. PayPal records indicate that, on or about June 15,
2017, Garbowski transmitted a billing invoice to Individual H1 in the amount of
$517.50. PayPal records also reflect that, on or about August 20, 2017, Individual H1
paid $517.50 to Garbowski, with a subject line notation “Payment to Manaje
Productions for invoice 081917.”

66. - On or about February 28, 2019, I telephonically interviewed
Individual H1, who is a resident of Texas. Individual H1 confirmed that she chartered
a vessel for the afternoon of August 19, 2017. The charter was for a bachelorette party
for approximately 10 of her friends. Individual H1 stated that she located the vessel
on Boatbound, and paid for the vessel through PayPal. The voyage consisted of a trip
to the Playpen and included the cost of a captain and fuel. Individual H1 stated that

she also tipped the captain. Individual H1 also stated that they ordered food and

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drinks through the captain (whose name was named “Mike” or “Mike Manaje”) and
then reimbursed him afterward. Individual H1 stated that she paid the money for the
‘voyage up front and that her friends split the cost of the charter voyage with her
afterward. Individual HI believed that the captain also had a male crewmember. She
did not recall signing any contracts or waivers and did not know who owned the
vessel. When asked, Individual H1 vaguely recalled that “Mike” may have asked or
text messaged her with a request that she not disclose that she signed a contract, to
not call attention to themselves, and to “fly under the radar” (Individual H1’s words).
She did not ask if the captain had a merchant mariner credential. She believed that
the vessels on Boatbound were operating legally and would not have reserved the
charter if she knew it was operating illegally. She found it odd that she was asked to
make payment outside of the Boathound website.

67. Inor about June 2019, I again contacted Individual H1, who provided to
me a copy of the contract that she signed for the chartering of the Subject Vessel. The
contract, which was nearly identical to the contract provided by Individual G for her
charter voyage, recites that the “rental amount” is $1,800 for a five-hour rental period
from 3:30 p.m. 8:30 p.m. on August 19, 2017. The contract contained the following
non-disclosure provision (emphasis in original):

NON-DISCLOSURE:

THIS CONTRACT IS CONFIDENTIAL AND SHALL NOT BE

DISCLOSED WITH ANY PERSONS, AUTHORITIES, AGENCIES OR

ANY OTHER PARTIES EXCEPT THE RENTER AND PASSENGERS.

NEITHER PARTY SHALL ADVERTISE, PUBLICLY ANNOUNCE, OR

OTHERWISE STATE THAT IT HAS ENTERED INTO A

CONFIDENTIALITY AGREEMENT WITH THE OTHER PARTY.
WITHOUT LIMITING THE FOREGOING, NEITHER PARTY SHALL

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USE THE OTHER PARTY’S NAME OR NAMES OR ITS AFFILIATES

OR REPRESENTATIVES IN ANY WEBSITE DISPLAYS OR OTHER

MATERIALS. - ,

RECIPIENT ACKNOWLEDGES THAT (A) ANY BREACH OF THE

PROMISES OR AGREEMENTS HEREIN MAY RESULT IN DAMAGE

TO DISCLOSER FOR WHICH THERE WILL BE NO ADEQUATE

REMEDY AT LAW, AND (©) IN THE EVENT OF BREACH,

DISCLOSER SHALL BE ENTITLED TO SEEK INJUNCTIVE RELIEF

AND/OR A DECREE FOR SPECIFIC PERFORMANCE, AND SUCH

OTHER RELIEF AS MAY BE PROPER, INCLUDING MONETARY

DAMAGES.
Additional information received from Individual H1 resulted in law enforcement
identifying Individual H2 (a resident of New York) as a passenger on the Subject
Vessel with Individual H1 on August 19, 2017. Venmo records reflect that, on or about
August 17, 2017, Individual H2 paid $2,050 to Garbowski, along with an associated
note stating, “Boat trip.”16

68. PayPal and Venmo records suggest that Garbowski continued to engage
in commercial charter operations during the remainder of 2017. As just one example,
Venmo records show that, on August 30, 2017, Individual I paid $500 to Garbowski
with an associated note containing a boat emoji. PayPal records reflect that on
September 2, 2017, Individual J paid $2,500 to Garbowski. Venmo records reflect
that, on September 7, 2017, Garbowski paid $500 to Individual I with an associated

note of “:venmo: back at ya.”

 

16 Based upon my review of Garbowski’s online charter accounts, I know that he sometimes
indicates that there is an additional charge of $250 for boat cleaning and fuel. I suspect, but
have not yet confirmed, that the amount of money Individual H2 paid to Garbowski was the
sum of the $1,800 charter fee plus a $250 cleaning/fuel feel.

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69. On or about May 28, 2019, I interviewed Individual I. During the
interview, Individual I stated that he used Boatbound to charter a voyage for
Saturday, September 2, 2017. Individual I located the Subject Vessel (under the name
Sea Hawk) and communicated via text messages and email with the owner, who,
based upon Facebook photos of Garbowski that I presented, Individual I identified as
Garbowski. Individual I confirmed that he made the payments described in the
previous paragraph, Individual I stated that his payment included all fees, fuel and
the captain, but not food or beverages. The crew consisted of the captain and one male
crew member. Individual I could not recall if he signed a contract or waiver for the
voyage. Individual I stated that his party consisted of approximately 8 to 10
passengers that were all friends of his. The voyage lasted 4-5 hours and consisted of
traveling from Monroe Harbor to the Playpen. He would not have chartered the
vessel if he thought they were operating illegally.

70. Other evidence suggests that Garbowski engaged in commercial

charters on Sunday, September 3, 2017, and Saturday, September 16, 2017.

G. Using False Pretenses, Garbowski Induces the Coast Guard to Rescind
the First COTP.

71. By no later than September 26, 2017, the Coast Guard received by mail
a letter from Garbowski. The letter is dated September 18, 2017, and purports to be
from “M/V SEA HAWK, Christopher Garbowski” and is addressed to the Captain of

the Port in Milwaukee. The letter reads:

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Captain Of The Port Order 11-17: M/V SEA HAWK, O.N. 1192154
To whom it may concern:

I do have any intention on operating my vessel for commercial
purposes.

On Aug 19, 2917, the USCG. boarded my vessel and deemed it a
commercial operation. This was not the case. I did not collect any
payments or any form of monetary value from any passengers on my
vessel. This is my first season of ownership and did not know all the
liabilities of asking guests to pitch in for gas. I did not and was not
physically collecting any money from any of my guests for chartering. I
ask to please review and re-evaluate the fines assessed to M/V SEA
HAWK, O.N. 1192154 and myself, Christopher Garbowski.

The letter bears a handwritten set of initials and/or name signatures above the name
“Christopher Garbowski.”

72. Onor about September 26, 2017, a Coast Guard official transmitted an
email to Garbowski at the email account listed on the letter. In that email (most likely
due to the first sentence of Garbowski’s letter, which suggested that he intended to
conduct commercial charters), the Coast Guard mentioned that the letter was “a little
unclear,” but nonetheless proceeded to direct Garbowski to the requirements for
becoming a commercial charter operator:

If your intention is to operate commercially in the future, please

submit an application for inspection (found here:

https://www.uscg.mil/forms/cg/CG_3752A.pdf) to our office via this

email address: SMBMSUChicago@uscg.mil. This will start the process

for you to become a commercial passenger vessel that carries seven or
more passengers.

If you would like to operate as a commercial passenger vessel that
carries six or fewer passengers, you can meet the requirements of an
uninspected vessel (46 CFR Subchapter C, the same regulations you
need to meet already), be manned by a credentialed captain with a
license appropriate for your vessel and the credentialed captain must

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be enrolled in a drug and alcohol testing program. Please see the
attached PDF for more information.

Please let me know what you would like to do, and/or if you have any
further questions or concerns. Thanks!

The Coast Guard also attached an electronic version of a brochure that recited the

rules for engaging in commercial charter operations.

73. Approximately 57 minutes after the email described in the previous

paragraph was transmitted, the Coast Guard received a response email from the

same email account identified in Garbowski’s letter (with the sender field populated

by the name “Mike Gski’). That email was directed toward the author of the Coast

Guard email described above and bore the following substance:

11-17.

My apologies for the unclear letter.
My opening statement, first line, was meant to read:
“I do not have any intention on operating my vessel for commercial

purposes.”

I am not in the business of chartering and if I ever do consider it, I will
immediately contact you to apply for commercial status.

Sorry for the inconvenience and thank you for the follow up.

Sincerely,
Chris Garbowski

74. On or about October 23, 2017, the Coast Guard rescinded COTP Order
The rescission letter to Garbowski stated, in relevant part, as follows:

RESCISSION OF CAPTAIN OF THE PORT ORDER 11-17: M/V
SEA HAWK, O.N. 1192154

You have met the requirements of COTP Order 11-17 by notifying
my office in your letter dated September 18, 2017, and your email to
Marine Safety Unit ‘Chicago on September 26, 2017, that you will
operate the M/V SEA HAWK as a recreational vessel and not as a
charter or commercial vessel with passengers for hire.

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The Coast Guard has made a long-term commitment to enforce
all applicable federal regulations for passenger vessels. The Coast
Guard will be conducting periodic, unannounced boardings of vessels
suspected to be operating illegally as passenger vessels. Passenger
vessels operating without a valid Certificate of Inspection (46 U.S.C.
§ 3318) or without a properly licensed mariner may face a maximum
civil penalty of $15,000 for each day the violation occurs.

Additionally, credentialed merchant mariners found violating
marine safety laws and regulations may face suspension and/or
revocation of their credential. Finally, any false statements provided to
my office regarding your intentions may result in fines and/or
imprisonment for up to five years pursuant to 18 United States Code §
1001 and § 2237.

If you have any questions, please contact MSU Chicago
Inspections Branch at (630) 986-2155 or by email at
SMBMSUChicago@uscg.mil.

H. Garbowski Continues to Engage in Charter Operations During the 2018
Boating Season.

75. PayPal and Venmo records contain entries that ‘are consistent with
Garbowski engaging in commercial charter operations during the 2018 boating
season. For example, Venmo records indicate the following:

a. On or about June 8, 2018, Individual J paid $500 to Garbowski

with an associated note containing a sailboat emoji. On or about June 9, 2018,

Individual J paid $1,200 to Garbowski with an associated note containing a

sailboat emoji.

b. On or about June 22, 2018, Individual K paid $500 to Garbowski

with an associated note stating “boat deposit.” On or about June 23, 2018,

Individual K paid $1,250 to Garbowski with an associated note stating “Boat

stuff.”

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C. On or about June 30, 2018, Individual L paid $500 to Garbowski
with an associated note stating “Boat Deposit (August 18) 1...”

d. On or about July 4, 2018, Individual M paid $2,000 to Garbowski
with an associated note stating “1.” On or about July 4, 2018, I observed the

- Subject Vessel (under the name Manaje II) being operated by Garbowski on a
suspected charter voyage with approximately 15 passengers.

e. On or about July 7, 2018, Individual N1 paid $1,500 to Garbowski
with an associated note stating “A.” Also on July 7, 2018 Individual N2 paid
$1,000 to Garbowski with an associated note that appears to reference the
name of Individual N1 followed by the word “boat.” On or about July 7, 2018, I
observed the Subject Vessel (under the name Manaje III) being operated by
Garbowski on a suspected charter voyage with approximately 22 passengers.

f. On or about July 9, 2018, Individual O paid $500 to Garbowski
with an associated note stating “Deposit for Boat on 7/14/18.” On July 14, 2018,
Garbowski paid $500 to Individual O with an associated note containing a
“deposit back” emjoi.

76. On July 6, 2018, Coast Guard personnel boarded the Subject Vessel
while it was on the Chicago River. The boarding offices identified Garbowski as the

operator of the Subject Vessel, upon which there were 14 adults in total.

I. Garbowski Again Lies About Conducting Commercial Charter
Operations During a Coast Guard Boarding on July 14, 2018.

77. On or about July 14, 2018, during surveillance activity, I observed

several individuals board the Subject Vessel (under the name Manaje III). Less than

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an hour later, Coast Guard boarding officers entered onto the Subject Vessel while it
was moored at Monroe Harbor.!’ I was present on the dock during the course of the
boarding activity. During the initial boarding, one of the boarding officers questioned
Garbowski, who acknowledged that he owned the vessel through a Delaware
corporation (GSKI Group, LLC). Garbowski asserted that he had not registered the
Subject Vessel in Illinois because he purchased it less than one year ago. Garbowski
and the boarding officer exited the Subject Vessel and I and another Coast Guard
member conducted an interview of Garbowski on a Coast Guard vessel. The boarding
officer returned to the Subject Vessel to continue questioning the passengers. The
following occurred during the course of my interview with Garbowski:
a. At the outset of my interview with Garbowski, I cautioned
Garbowski that it was a criminal offense under 18 U.S.C. § 1001 to make false
statements to federal agents. Garbowski acknowledged his understanding.
b. Garbowski stated that he purchased the Subject Vessel in 2017
and that he has never owned any other vessels. Garbowski stated that he did
not have a merchant mariner’s credential and did not know the safe loading
capacity of the Subject Vessel.
c. Garbowski acknowledged that he had not registered the vessel in
Illinois, despite the fact that the vessel was indicated as homeported in

Chicago, Illinois; rather, Garbowski claimed that he brought the vessel to

 

1 The boarding officers verified that the vessel was, in fact, the Subject Vessel based upon
the hull identification number and the fact that the engine compartment of the vessel
included a prominent decal of the Subject Vessel’s NVDC identification number (1192154).

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Chicago in July 2018 and intended to return it to Michigan within 60 days.18
Garbowski claimed that he occasionally worked as a real estate agent (but had
no primary employment) and used the Subject Vessel every weekend with
friends or prospective real estate clients.

d. Garbowski stated that the voyage about to take place on the
Subject Vessel at the time of the Coast Guard boarding had been arranged the
day before by Individual P1 for the benefit of Individual P2 and 17 of Individual
P2’s friends.

e. Garbowski stated several times during the interview that he has
never operated a charter voyage on his vessel and has never received money or
payment for operating the vessel.

f.  Garbowski also stated that he does not and has not ever had an
online account to charter vessels, including at either Boatbound or Get My
Boat. I informed Garbowski that he received money on August 5, 2017,
August 7, 2017, and January 27, 2018, for chartering vessels. Garbowski
denied knowledge of having received money on those dates. I reminded
Garbowski that he was issued a COTP Order on August 19, 2017, when the
Subject Vessel was boarded, and that I was present when the COTP Order was
issued to him. Garbowski denied knowledge of the charter voyage associated

with the boarding and stated that he did not recall my presence during the

 

18 Under Illinois law, a vessel that have been documented with the NVDC must be registered
with IDNR if used upon the waters of this State for more than 60 days in any calendar year.
See 625 ILCS 45/3.

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events. Garbowski stated that he mailed a response (via United States Postal
Service) to the Coast Guard, and that the COTP Order was suspended.

g. I then presented Garbowski with a copy of the charter voyage
contract for the August 19, 2017, voyage booked by Individual G (as discussed
above in paragraph 61). Garbowski initially declined to comment on the
contract and then asked if he could have a copy of the contract. I informed
Garbowski that he already had a copy of the contract since it was his contract
and within his email. Garbowski stated that he did not recognize the contract
and was not willing to discuss the non-disclosure agreement portion of the
contract.

h. I then provided Garbowski with surveillance photographs from
the August 5, 2017, July 4, 2018, and July 7, 2018 voyages. Garbowski stated
that all the passengers on those voyages were his friends and that none of the
passengers paid money for the voyage. Garbowski signed the July 2018
photographs notating that the passengers were his friends and did not pay for
the voyage. Garbowski did not sign the photograph from August 5, 2017,
asserting that it was too blurry to identify the passengers.

1. Garbowski stated that the Coast Guard had already boarded the
Subject Vessel once in 2018 (the July 6, 2018, boarding) and further stated
that, on that occasion, the passenger's on the vessel were personal friends and

none had paid for the voyage.

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j. | Garbowski also initially stated that some of his friends
occasionally took his boat out without him being aboard, but later in the
interview denied knowledge of any persons, including personal friends,
operating the Subject Vessel without him being on board. Garbowski stated
that he believed that the Coast Guard was trying to “get” Garbowski for
conducing charters. I explained that charter voyages could be very profitable
if done legally and the Coast Guard was willing to help him do it lawfully.

78. Meanwhile, during the first phase of my interview with Garbowski,
Coast Guard boarding officers inquired of the approximately 17 other adult
passengers on board the Subject Vessel regarding how they came to be on the Subject
Vessel that day. Those individuals generally claimed to be friends with each other.
One of the boarding officers made contact with Individual P2, whom the boarding
officer recognized from a previous boarding and, based on past interaction, knew
Individual P2 was a Wisconsin resident who frequently chartered vessels when he
traveled to Chicago. Individual P2 first stated that he rented the vessel, but clarified

that, in fact, the charter was set up by Individual P2’s attorney from North Carolina
(Individual P1). However, later in the interview, Individual P2 then stated that the
lawyer often referred potential real estate clients to Garbowski. According to
Individual P2, the lawyer contacted Garbowski, who agreed to take Individual P2 and
his friends out on the vessel. Individual P2 stated that he did not pay any money for
the voyage and, further, was pretty sure that the attorney from North Carolina did

not pay any money either.

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79. The Coast Guard boarding officer thereafter informed me of the
information he obtained from Individual P2. I informed Garbowski that it was a fact
that he was engaging in commercial charter operations and that he was doing so in
violation of State of Illinois and Coast Guard safety regulations. Garbowski again
denied that he was engaged in conducting charter operations. I provided Garbowski
with Coast Guard pamphlets that described the rules for conducting commercial
charter operations and how to obtain a COI. A boarding officer served Garbowski with
a written warning for illegally using a vessel to conduct an illegal commercial charter
voyage, and advised Garbowski to look into Illinois vessel registration requirements.

80. Although asked to do so, neither Individual P2 nor Garbowski were able
to provide contact information for Individual P1, both claiming that they had it stored
elsewhere and did not have immediate access to it.

81. Despite the statements made by Individual P2 and Garbowski on
July 14, 2018, information developed later during the investigation, as summarized
below, established that the voyage taking place when the Coast Guard boarded the
Subject Vessel on July 14, 2018, was a commercial charter voyage.

82. On or about July 25, 2018, I conducted a telephonic interview of
Individual Pl, who was the person Garbowski identified as having arranged the
charter of the Subject Vessel for the voyage on July 14, 2018.19 During that interview,

Individual P1 stated that he is a resident of North Carolina and works as an event

 

19 Notably, Individual P1’s actual name varies slightly from the last name of Individual P1
as asserted by Garbowski. This discrepancy suggests that, contrary to Garbowski’s claim at
the time, Individual P1 was not a close business acquaintance of Garbowski.

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planner.?° Individual P1 stated that he located the Subject Vessel on either Get My
Boat or Boatbound and then introduced Individual P2 to the owner of the Subject
Vessel (1.e., Garbowski). Individual PL stated that his only connection to this incident
was to arrange the charter. He further stated that he did not sign any contracts or
make any payments, and that the costs of the charters he reviewed were in the range
of approximately $2,500 to $4,500. |

83. On or about July 25, 2018, I conducted a telephonic interview of
Individual P2. During that interview, Individual P2 stated that he and a friend of his
(Individual P3) had, on or about June 22, 2018, paid $500 to Garbowski through Get
My Boat as a deposit on a charter vessel voyage with Garbowski, but that the voyage
was cancelled. Individual P2 stated that Garbowski agreed to “comp” Individual P2
for that cancellation by taking Individual P2 and his friends for a boat cruise on the
Subject Vessel on July 14, 2018. Individual P2 stated that, after the voyage,
Garbowski began asking to be paid $3,750 for the J uly 14, 2018, voyage. Individual P2
also stated that, on or about July 18, 2018, he booked a chartered voyage with
Garbowski for the 2018 Chicago Air and Water Show (which I know to have been held
in August 2018) but Individual P2 decided against it because that voyage would cost
even more money. Individual P2 also stated that, upon review of his correspondence
with Garbowski, he noticed that Garbowski requested that he not speak about the

fact that the voyage was a charter voyage.

 

20 T asked Individual P1 if he arranged the trip for Individual P2’s lawyer, but Individual P1
stated that he was unaware that Individual P2 even had a lawyer.

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84. Records obtained during the course of the investigation reflect the
following with respect to the July 14, 2018, voyage on Subject Vessel that was boarded
by the Coast Guard:

a. Garbowski and Individual P1 first communicated about the
July 14, 2018, voyage on or about July 11, 2018, through a professional
networking website, LinkedIn. In that exchange, Garbowski (using account
name “Michael Garbowski”) asked Individual P1 if he had “reach[ed] out on
get my boat” and invited him to “chat.” Individual P1 responded that he had
and provided Garbowski with his cell phone number. During a subsequent text
exchange, Garbowski advised Individual P1 that he could accommodate
approximately 20 passengers on the Subject Vessel. The messages also reflect
that Garbowski was also attempting to procure a 55’ vessel for the charter as
well.

b. On or about July 13, 2018, Garbowski transmitted via email a
contract to Individual P1 for the voyage. The contract recites that the “rental
amount” is $3,750 for an eight-hour rental period from 11:00 a.m. until 7:00
p.m. The contract contained the same non-disclosure provision that appeared

- in the contracts executed by Individuals G and Individual H1 (as quoted in
paragraph 67, above) but further included the following additional language

(emphasis in original):

PARTY UNDERSTANDS AND WILL CLAIM NO MONIES WERE

PAID FOR THE DAY ON THE BOAT FOR CHARTER, CAPTAIN,

GAS, FOOD, DRINKS OR ANYTHING ELSE IN
CONSIDERATION. WE ARE FRIENDS.

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c. The email message from Garbowski to Individual P1 transmitting

the contract stated as follows:
Hi [First Name of Individual P1],

Attached is the contract.

Can you tell me about your clients?

My only request is that they do not talk about the day as being a charter.
Just that I am your realtor and it’s a client entertainment trip where no
monies were paid.

If we are stopped or bothered by the coast guard, I need everybody on
the same page that no body [sic] paid for anything. Not food, drinks, gas,
boat or anything.

I could probably come over to the gas dock at Burnham but not the yacht
club.

Let me know how your [sic] prefer to send payment.
Venmo, chase quickpay or paypal all work for me.

Lastly,

I'm still trying to pull off the 55ft boat.
If so, it'll be 6500.

Let me know if you have any questions.
Thanks,

Mike Garbowski

[Garbowski’s cell phone number]

d. On or about July 14, 2018, at 3:54 p.m. (Eastern Time),
Garbowski transmitted a text message to Individual P1 that stated: “Don’t
answer any calls today, please, coast gaurd [sic] is boarding us.”

e. On or about July 16, 2018, Garbowski sent the following text
message to Individual P1: “[First Name of Individual P1], thanks again for

booking. [First Name of Individual P2] was a great guy, we dodge [sic] the coast

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gaurd [sic] who interrogated us. ’m glad you relayed the message, if they

contact you, we refer clients to each other. Lastly, who is completing payment?”

In subsequent text message exchanges, Garbowski confirmed that the balance

due for the voyage was $3,250.21 Further text messages between Garbowski

and Individual P1 and Individual P2 reflect that Garbowski had to send
repeated messages asking for full payment.
f. On or about July 26, 2018, Individual P2 notified Garbowski that

“Coast guard has been call me.” In response, Garbowski stated, “Don’t talk

with them, you have no obligation to them.”

g. It appears that the July 14, 2018, charter voyage was paid in full

on or about August 20, 2018.

85. Based on the contents of the contract and its accompanying email
message described above, my experience and training, and the evidence gathered
during this investigation as a whole, I believe that Garbowski attempted to persuade
Individual P1 to provide false information if questioned about whether money was
paid in exchange for the July 14, 2018, voyage on the Subject Vessel. For similar
reasons, I believe that, in his text message on July 6, 2018, Garbowski intended to
express his gratitude to Individual P1 for informing Individual P2 to likewise lie to
the Coast Guard (“we dodge the coast gaurd who interrogated us. I'm glad you relayed:

the message”), and continued to urge Individual P1, if contacted by the Coast Guard,

 

-21 PayPal records reflect that on or about July 13, 2018, Individual P3 paid $500 to
Garbowski. Text messages verify that the payment was made for the purpose of renting the
Subject Vessel.

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to continue to claim falsely that Individual P1 and Garbowski had a business
relationship (“if they contact you, we refer clients to each other’).

J. On or about July 27, 2018, I Served the Second COTP Order Upon
Garbowski.

86. Onor about July 27, 2018, I located the Subject Vessel at Monroe Harbor
in Chicago, Illinois. At that time, I personally served Garbowski with a second COTP
Order. A copy of that COTP Order is attached hereto as Attachment A. Under its
terms, the second COTP was effective as of July 27, 2018. Garbowski refused to sign
for receipt of the COTP without obtaining legal advice first. I took a photograph of
Garbowski with the COTP Order in his possession (in one of his pockets). During my
interaction with Garbowski, Garbowski again asserted that he was not operating the
Subject Vessel commercially. I verbally informed Garbowski three times that if he
operated the Subject Vessel commercially then he could face severe penalties, to
include arrest and felony charges. I also advised Garbowski to contact the MSU office
in Willowbrook, Illinois, or the Coast Guard Sector Lake Michigan office in

Milwaukee, Wisconsin, if he had any questions.

K.  Garbowski Engaged In Commercial Charter Operations After Service of
the Second COTP Order.

87. Onor about July 28, 2018, the day after I served the second COTP Order
upon Garbowski, Coast Guard personnel observed several individuals on board the
Subject Vessel (under the name Manaje II) inside the Playpen. This was during the |
“Chicago Scene Party” inside the Playpen. The Coast Guard personnel, having been

advised about the issuance of the second COTP Order and knowing that the Subject

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Vessel was suspected of engaging in unlawful charter operations, boarded the Subject
Vessel at approximately 2:40 p.m. and counted approximately 23 passengers on
board. The boarding officers identified Garbowski as the owner and captain of the
Subject Vessel. During an interview, Garbowski told the boarding officers that he was
aware of the second COTP Order and understood its terms.22 Garbowski also stated
that the voyage was not a commercial charter. Statements made by some of the
passengers to the boarding team were similar to each other and generally involved
claims that the passengers were friends of Garbowski. Although the statements were
deemed suspicious, the boarding team allowed the Subject Vessel to continue its
voyage because they lacked clear evidence at that time that the voyage was a
commercial charter.

88. Evidence developed during this investigation, as summarized below,
establishes probable cause to believe that Garbowski was, in fact, conducting a
commercial charter voyage at the time of the Coast Guard boarding on July 28, 2018:

a. In particular, as discussed above, on or about February 8, 2019, I
interviewed Individual C, who stated that he chartered the Subject Vessel
multiple times in 2017 and 2018, and that Garbowski was the captain for each

of his trips, each of which involved approximately 15 passengers. Individual C

 

22 Near the beginning of the boarding, another individual jumped in the water from a nearby
vessel and swam up to the Subject Vessel, and thereafter claimed to be Garbowski’s attorney.
That individual was aggressive with the boarding team, but remained present during the
subsequent questioning of Garbowski. I have interviewed the individual on two occasions.
During a conversation in or about May 2019, the individual stated that he only represented
Garbowski on civil matters (not criminal matters) and that he was not presently representing
Garbowski on any matter.

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also stated that he and his groups always boarded the vessel at Monroe Harbor
in Chicago, with the Playpen as their destination. Individual C stated that his
charter fees included fuel and a captain, but did not include food or alcohol.
Individual C stated that he separately provided a tip to Garbowski as well.
Individual C also stated that, on two of the voyages, the Coast Guard boarded
the vessel, apparently to inquire with respect to underage drinking.

b. During the interview, Individual C confirmed that Garbowski last
operated a charter voyage for him on or about July 28, 2018, for the Chicago
Scene Boat Party. I showed to Individual C Venmo records that confirmed that
Individual C paid approximately $1,110 for the charter voyage on July 28,
2018, and Individual C stated that the payment was for the July 28, 2018,
charter voyage to the Playpen. Individual C stated that he arranged the
charters and paid Garbowski for the charter voyages, for which his friends
chipped in and paid back Individual C. Individual C identified Individual Q
was one of the guests on the July 28, 2018 charter voyage.

c. On or about February 9, 2019, I interviewed Individual Q and his
roommate, Individual R. Each of the individuals stated that he had been on
Garbowski’s boat on multiple occasions and considered Garbowski to be a
friend. They each both claimed to be on Garbowski’s vessel in late July or early
August when it was boarded by the Coast Guard, but each also claimed that
he did not interact with the boarding officers. Individual Q stated that in the

past he has transferred money to Garbowski via Venmo for various things, to

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include fuel for Garbowski’s boat, bar service at local bars and for tips from
group meals.
d. Venmo records reflect that, on or about July 29, 2018,

Individual Q transferred approximately $2,090 to Garbowski via Venmo with

an associated note stating, “Brunch.”
IV. CONCLUSION

89. Based upon the foregoing, I submit that there is probable cause to
believe that, on or about July 28, 2018, defendant CHRISTOPHER MIKE
GARBOWSKI willfully and knowingly violated the terms of an Order of the Captain
of the Port, Sector Lake Michigan, in violation of Title 33, United States Code, Section

1232 (as in effect prior to December 4, 2018).

FURTHER AFFIANT SAYETH NOT.

=

ASHER THOMAS
Special Agent, U.S. Coast Guard
Investigative Service

SUBSCRIBED AND SWORN to before me on June 25, 2019.

 

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ATTACHMENT A
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U.S. Department of Captain of the Port 2420 S. Lincoln Memorial Drive
Homeland Security United Stafes Coast Guard Milwaukee, Wi 53207
Sector Lake Michigan Phone: (414) 747-7182

United States Fax: (414) 747-7883
Coast Guard

16731
July 27, 2018
M/V MANAJE II/SEA HAWK
Attn: Christopher “Michael” Garbowski
43215 Cove Court
Sterling Heights, MI 48313
GSKIGroup@gmail.com

CAPTAIN OF THE PORT ORDER 11-18: M/V MANAJE III/SEA HAWK, O.N, 1192154

On July 14, 2018, members of my staff, in the vicinity of Monroe Harbor, Chicago, IL, boarded
the M/V MANAJE II/SEA HAWK, O.N. 1192154, operating with eighteen (18) people on
board. When you were asked, you and your passengers told the boarding officer that no money
was given to you in exchange for the voyage. We have since received evidence that clearly
indicates money was exchanged and that these were passengers for hire. We have determined
that the voyage was commercial in nature.

After receiving Captain of the Port Order 11-17 on August 19, 2017, for operating with
passengers for hire, you notified my office in your letter dated September 18, 2017, and your
email to Marine Safety Unit Chicago on September 26, 2017, that you would operate the M/V
SEA HAWK, OWN. 1192154 as a recreational vessel, not as a charter or commercial vessel! with
passengers for hire.

The Coast Guard has no current record of your vessel being inspected as a small passenger vessel
or being operated by an individual licensed by the Coast Guard for this vessel and route. Title 46
United States Code (U.S.C.) § 3301(8) states that small passenger vessels are subject to
inspection. Additionally, 46 U.S.C. § 8902, requires small passenger vessels be operated by an
individual licensed by the Secretary to operate that type of vessel in the particular geographic
area, under prescribed regulations. Furthermore, 46 U.S.C. § 8903, requires self-propelled,
uninspected passenger vessels be operated by an individual licensed by the Secretary to operate
that type of vessel, under prescribed regulations.

Therefore, M/V MANAJE III/SEA HAWK, O.N. 1192154, is hereby ordered to immediately
cease operations as a commercial passenger vessel until such time as it can be shown to the
satisfaction of the Coast Guard that it is operated by an individual holding an appropriate license
and is in compliance with all federal laws and regulations. This order is given under the
authority of Title 33 U.S.C. § 1223(b), effective July 27, 2018, and will remain in effect until
rescinded by my office.

Failure to comply with this order may result in a civil penalty of not more than $90,063.00

pursuant to 33 U.S.C. § 1232(a), with each day of continued operation constituting a separate
violation. Furthermore, a willful and knowing violation of this order under 33 U.S.C. § 1232(b)

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CAPTAIN OF THE PORT ORDER 11-18: M/V MANAJE III/SEA HAWK, O.N. 1192154

constitutes a Class D Felony which may expose you to a term of imprisonment not to exceed 10
years, and a fine not to exceed $250,000.00.

Should you feel aggrieved by this order, you may request reconsideration to me directly. If I do
not rescind this order based on your request, you may appeal my decision to the Commander,
Ninth Coast Guard District. While any request of appeal is pending, all provisions of this order
will remain in effect. Reconsideration requests or appeals must follow the procedures prescribed
in Title 33, Code of Federal Regulations (CFR) § 160.7.

If you have any questions please contact our 24-hour watch at (414) 747-7182; fax (414) 747-
7883.

Sincerely,

T. J. STUHLREYER

Copy: Commander, Ninth Coast Guard District (dp)

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Acknowledgement of Receipt / Proof of Service (circle one):

Name: ME KE. | OAR OW SkKT Signature: [4 E FUSED
Title: OWE 7A Place: Mome_ Ya fl bor.
Date: 2 2 DUl ads Time: ! 7 5\ Ms

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